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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


IN THE MATTER OF THE COMPLAINT            *               CIVIL ACTION
OF RODI MARINE, LLC, AS                   *
OWNER AND OPERATOR                        *               NO. 17-5394
OF THE M/V WILDCAT                        *
PETITIONING FOR EXONERATION               *               SECTION: E(5)
FROM OR LIMITATION OF LIABILITY           *
*******************************************

                             THIRD PARTY COMPLAINT

       Now comes Claimant herein, Antonio Smith, who files this Third Party Complaint, as

follows:
                                           1.

       Made Third Party Defendants are:

       A.     Certain Underwriters subscribing to Cover Note No. TRM-407508 (Unique Market
              Reference B0507M17PP00150), including Syndicate No. MRS 457
              (LLUE679523XX) at Lloyds of London;

       B.     Certain Underwriters subscribing to Cover Note No. TMU-407507 (Unique Market
              Reference B0507M16PL06730), including Syndicates No. BRT 2987 LIB 4472,
              AML 2001, and MRS 457 at Lloyds of London, and

       C.     Navigators Insurance Company as issuer of Policy No. HO16LIA00252402.


                                                2.

       At all times material hereto Third Party Defendants, Certain Underwriters subscribing to

Cover Note No. TRM-407508,(Unique Market Reference B0507M17PP00150), including Syndicate

No. MRS 457 (LLUE679523XX) at Lloyds of London and Certain Underwriters subscribing to

Cover Note No. TMU-407507 (Unique Market Reference B0507M16PL06730), including

Syndicates No. BRT2987, LIB4472, AML 2001, MRS 457 at Lloyds of London, and Navigators


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Insurance Company as issuer of Policy No. HO16LIA00252402, had issued a policy or policies of

insurance to multiple parties, including Petitioners herein, Rodi Marine, LLC, Rodi Marine

Management, LLC and GJR Marine, Marine, LLC.

                                                 3.

       The aforementioned policies of insurance issued by Third Party Defendants were delivered

to Petitioners in the State of Louisiana, and provide coverage for claims and damages as asserted by

Claimant, Antonio Smith, in this Limitation Proceeding.

                                                 4.

       Pursuant to the provisions of the Louisiana Direct Action Statute, LSA R.S. 22:655, et. seq.,

Third Party Defendants, Certain Underwriters subscribing to Cover Note No. TRM-407508,(Unique

Market Reference B0507M17PP00150), including Syndicate No. MRS 457 (LLUE679523XX) at

Lloyds of London and Certain Underwriters subscribing to Cover Note No. TMU-407507 (Unique

Market Reference B0507M16PL06730), including Syndicates No. BRT 2987, LIB 4472, AML 2001

MRS 457 at Lloyds of London, and Navigators Insurance Company as issuer of Policy No.

HO16LIA00252402, are appropriate parties to this litigation, and are liable jointly, severally, and

in solido with Petitioners, Rodi Marine, LLC, Rodi Marine Management, LLC and GJR Marine,

LLC, for all claims and damages asserted by Claimant, Antonio Smith.

       Wherefore Claimant and Third Party Plaintiff, Antonio Smith, prays that he be allowed to

file this Third Party Complaint, and that after due proceedings are had, there be Judgment rendered

in his favor against Petitioners and Third Party Defendants as prayed for in this Third Party

Complaint and in Complainant’s Original and First and Second Supplemental and Amending

Answers and Claims in Response to the Complaints for Exoneration From or Limitation of Liability,


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together with pre-judgment interest and post-judgment interest, and for all costs of these proceedings

including expert fees, and for all other general and equitable relief deemed appropriate by this

Honorable Court.


                                               Respectfully submitted,

                                               GARNER & MUNOZ
                                               1010 Common Street, Suite 3000
                                               New Orleans, Louisiana
                                               Telephone:   (504) 581-7070
                                               Facsimile:   (504) 581-7083

                                               s/ John G. Munoz
                                               JOHN G. MUNOZ - #9830

                                      CERTIFICATE

       I hereby certify that a copy of the above and foregoing has been served upon all parties

herein by using the CM/ECF system and by depositing same in the United States Mail, properly

addressed, and postage prepaid, on this 20TH day of November, 2018 any non-CM/ECF participants.


                                               s/ John G. Munoz
                                               JOHN G. MUNOZ

PLEASE ISSUE A SUMMONS FOR EACH THIRD PARTY DEFENDANT AS INDICATED:

Syndicate 457, managed by Munich Re Syndicate Ltd.
c/o its agent for service of process
The Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809

Navigators Specialty Insurance Company
c/o its agent for service of process
The Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809


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Syndicate 2987, manages by Brit Syndicates Limited
c/o its agent for service of process
The Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809

Syndicate 4472, managed by Liberty Managing Agency Limited
c/o its agent for service of process
The Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809

Syndicate 2001, managed by MS Amlin Underwriting Limited
c/o its agent for service of process
The Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809




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